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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: TESTOSTERONE REPLACEMENT                    MDL 2545
 THERAPY PRODUCTS LIABILITY
 LITIGATION                                         Master Docket Case No. 1-14-cv-1748

 This document relates to:                          Honorable Matthew F. Kennelly
 Rowley v. AbbVie Inc., Case No. 15-cv-2760


   PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S BILL OF COSTS

       On July 16, 2018, Defendants AbbVie Inc. and Abbott Laboratories (collectively

“AbbVie”) submitted their Bill of Costs, outlining $77,702.60 in costs incurred defending against

Plaintiff Robert Rowley’s legal claims. Plaintiff objects to the requested amounts in AbbVie’s Bill

of Costs because, in many instances, AbbVie has provided conclusory and therefore inadequate

support for these unnecessary or unreasonable costs.

       Additionally, AbbVie’s requested costs for $77,702.60 in the third VTE trial is

significantly more than the costs sought in prior VTE trials. It is not logical and counter to the

bellwether process that as more cases get tried, the costs per case increase – logic would dictate

declining costs as a result of economies of scale. This is also true because AbbVie was not starting

from scratch as AbbVie could use materials from the prior trials. Finally, given that Rowley and

Myers were tried as very similar cases – cases without off-label marketing – to have costs in

Rowley be three times the costs in Myers is on its face unreasonable.

       Plaintiff respectfully requests the Court deny or at a minimum reduce the costs as explained

herein or as the Court deems reasonable for the reasons set forth below.
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                                     LEGAL STANDARD

       While Fed. R. Civ. P. 54 allows a prevailing defendant to recover reasonable costs incurred

(see Fed. R. Civ. P. 54(d)), the burden of proof is on that defendant to prove “with evidence and

not merely ipse dixit statement – that the costs were actually incurred, were reasonable in amount,

and were necessary.” Trading Techs. Int’l Inc. v. eSpeed, Inc., 750 F. Supp. 2d 962, 969 (N.D. Ill.

2010). Notably, “where a party fails to substantiate all of the costs it claims were necessary and

reasonable, the Court will reduce the costs to the level supported by [the party’s] proof - even if

that is zero.” Id. The Court’s decision to award costs is afforded “virtually complete deference.”

O’Regan v. Arbitration Forums, Inc., 246 F.3d 975, 989 (7th Cir. 2001) (citations omitted)

(reviewing the district court’s award of costs for “abuse of discretion”). Here, AbbVie has failed

to meet its burden with regard to many of the costs sought.

                                         DISCUSSION

   1. AbbVie’s costs are unreasonable because this Defense-pick bellwether case was
      unrepresentative of the other VTE cases pending in the MDL.

       AbbVie submitted $77,702.60 for costs incurred defending a factually unique Defense-

pick bellwether case that is not representative of other VTE cases pending in this MDL litigation.

When the Court first requested potential bellwether trial cases, the Plaintiffs’ Steering Committee

(“PSC”) explained that Plaintiff’s case was unique among VTE cases because, inter alia, Plaintiff

had undergone an orchiectomy procedure for the removal of one testicle. PSC’s Proposal for Initial

AbbVie-Only Bellwether Trial Cases, Case No. 1:14-cv-1748, Doc. No. 1407 at 37. However,

AbbVie’s bellwether proposal contained none of these critical, well-known facts. AbbVie Inc. and

Abbott Laboratories’ Proposal for Selection of Bellwether Cases for Trial, Case No. 1:14-cv-1748,

Doc. No. 1406 at 15. AbbVie touted Plaintiff’s case as representative because his case implicated




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both “Clot-specific” and “non-Clot specific” “cross-cutting issues.” 1 Id. at 15. Plaintiff’s unique

conditions were well-known at the time the parties proposed bellwether cases and it was clear over

two years ago that this case would not resolve issues applicable to large numbers of litigants. In

fact, as recently as the Rowley Pretrial Conference, the Court, sua sponte, questioned what would

be learned by trying this Defense-pick case. See Rowley Pretrial Conf. Tr. at 5:1-2. 2

       Moreover, in this non-representative case, AbbVie has submitted a bill of costs far

exceeding the other bellwether VTE cases tried to date, cases that were themselves costly. 3 Id. at

5:5-9. The reasonable expectation is that costs for the Rowley trial, which was the third VTE trial,

should have at most remained constant from the prior VTE trial (which were just over $25,000),

if not decreased, because AbbVie was not starting from scratch. Each bellwether trial case resolves

issues applicable to all cases, ostensibly including Plaintiff’s. In fact, Myers dealt with similar

issues because that case was tried as a straightforward failure to warn case without any evidence

of extensive off-label marketing by AbbVie.



1
   AbbVie identified the following as representative and important issues: (1) Plaintiff had
hematocrit below 50% at the time of his injury; (2) Plaintiff was over 65 at the time of his AndroGel
prescription and after the December 2007 label change for such a special population; (3) Plaintiff
experienced a Clot injury after the April 2011 label change related to hematocrit levels; and (4)
Plaintiff was prescribed AndroGel after the first-disease state awareness television commercial
aired in May 2009. AbbVie failed to advise the Court of the unique issue of Mr. Rowley’s
orchiectomy in proposing the case to be included in the bellwether pool.
2
  In its responses to AbbVie’s summary judgment motions, the PSC conceded Plaintiff’s case is
the one bellwether case that did not involve off-label use, which the Court noted in Case
Management Order No. 48. PSC Memorandum of Law in Opposition to Motion of AbbVie Defs.
For Summary Judgment on “Off-Label” Marketing Claims, Case No. 1:14-cv-1748, Doc. No. 1803
at 71 n. 23 & 76 n. 24; Case Management Order No. 14, Case No. 1:14-cv-1748, Doc. No. 1897
at 11 n. 1. However, when it became clear that that concession was not an accurate representation
of the case or of how this Court had dealt with off-label marketing evidence in the litigation to
date, AbbVie still fought to try this case as an on-label case, making it a non-representative case.
See generally, Defendants’ Omnibus Motion In Limine, No. 1:15-cv-2760, Doc. No. 40.
3
  See Nolte Bill of Costs, Case No. 1:14-cv-8135, Doc. No. 126 ($51,633.48); see also Myers Bill
of Costs, Case No. 1:15-cv-1085, Doc. No. 72 ($25,220.74).


                                                 3
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        $90,000.00
                            Chart 1 - Bill of Costs for MDL VTE Cases
        $80,000.00
        $70,000.00
        $60,000.00
        $50,000.00
        $40,000.00                                                                      $77,702.60
        $30,000.00
                             $51,633.48
        $20,000.00
        $10,000.00                                         $25,220.74

            $0.00
                              Nolte                         Myers                       Rowley

       As evidenced in the chart above, AbbVie’s costs for the Rowley trial are more than triple

those submitted in Myers, despite the fact that (a) neither VTE trial dealt with evidence of

AbbVie’s off-label marketing; (b) both trials took roughly the same amount of time to conduct;

and (c) both trials involved a similar numbers of witnesses (including 5 witnesses who testified in

both trials). 4, 5 The Rowley and Myers trials were conducted in very similar fashions, yet AbbVie’s

costs in the Rowley trial tell a different story. Accordingly, Plaintiff respectfully submits that the

amount AbbVie seeks in costs is unreasonable on its face.

       Because AbbVie proposed this case despite knowing this trial would not resolve larger

issues in the MDL, AbbVie’s request for costs totaling $77,702.60 is unreasonable and Plaintiff

respectfully submits that the Court should exercise its equitable authority to deny AbbVie’s request



4
  In Rowley, twelve witnesses testified, of which nine witnesses testified live and three witnesses
provided testimony through deposition transcripts read in open court. See generally Rowley Trial
Tr., Case No. 1:15-cv-2760. In Myers, eleven witnesses testified, of which nine witnesses testified
live and two witnesses provided testimony through deposition transcripts read in open court. See
generally Myers Trial Tr., Case No. 1:15-cv-1085.
5
  In both Rowley and Myers, the Court heard live testimony from AbbVie corporate witness
Michael Miller as well as expert testimony from Dr. Mohit Khera, Dr. Barbara Bierer, Dr. Peggy
Pence, and Dr. Henry Rinder. See generally Rowley Trial Tr., Case No. 1:15-cv-2760; see
generally Myers Trial Tr., Case No. 1:15-cv-1085.
                                                  4
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in whole. See Cefalu v. Vill. of Elk Grove, 211 F.3d 416, 426 (7th Cir. 2000) (“In all cases,

therefore, the court retains the equitable authority to deny compensation to a prevailing party for

costs that are compensable under the statute.”). Should the Court determine AbbVie is entitled to

costs, Plaintiff respectfully requests that the Court reduce AbbVie’s recovery as explained herein.

    2. Fees for exemplification and copies of papers necessarily obtained – 28 USC § 1920(4)

           a. AbbVie should not recover $48,552 in exemplification costs because it has not
              shown that these costs were reasonable or necessary.

       AbbVie has not provided adequate details for the $48,522 in exemplification costs such

that this Court can determine whether those costs were reasonable or necessary. 6 The Court should

not award costs for exemplification unless the Court can determine that the specific

exemplifications were “necessarily obtained for use in the case.” Cefalu, 211 F.3d at 428 (quoting

28 U.S.C. § 1920(4)). “In determining whether an exemplification expense was reasonably

necessary, the court may consider whether the exemplification was ‘vital to the presentation’ or

‘merely a convenience, or, worse, an extravagance.’” Trading Techs. Int’l Inc., 750 F. Supp. 2d at

981 (quoting Cefalu, 211 F.3d at 428-29). To permit the court to make this determination, the

prevailing party must provide the court with enough information to determine what exhibits were

created and whether those exhibits were admitted for trial. See Chi. Bd. Options Exch., Inc. v. Int'l

Secs. Exch., LLC, Case No. 07 CV 623, 2014 U.S. Dist. LEXIS 4701, at *7 (N.D. Ill. Jan. 14,

2014) (“Though the timesheets [the prevailing party] submitted demonstrate that time and effort

went into graphics and presentation, it is not apparent what exhibits were created”); Meyer v. Ward,




6
  Plaintiff highlights that AbbVie, as explained herein, has provided no justification for its
exemplification costs. However, setting aside AbbVie’s failure to justify its request, the amount
AbbVie has requested is patently unreasonable considering there was no need to create entirely
new demonstratives or slide decks because AbbVie could build upon, if not completely reuse,
materials developed for and used in the previous two VTE trials.
                                                 5
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Case No. 13 C 3303, 2018 U.S. Dist. LEXIS 24855, at *5-6 (N.D. Ill. Feb. 15, 2018) (finding that

vague invoice entries cannot justify award of costs where there is no indication of what exhibits

were created, whether the exhibits were admitted at trial, or the work hours for each exhibit). In

Exhibit D to AbbVie’s Bill of Costs, AbbVie has included a four-page invoice from Immersion

Legal for services rendered. Exhibit D to AbbVie’s Bill of Costs, Case No. 1:15-cv-2760, Doc.

No. 93-5 at 3-6. However, contrary to controlling case law, none of the invoice entries in Exhibit

D to AbbVie’s Bill of Costs reference specific exhibits or exhibits admitted in trial. Although some

entries indicate that technicians spent time editing counsel’s opening statement or an expert’s slide

deck, 7 the entries do not provide sufficient information to justify recovery of these costs. In fact,

ten entries authored by “Haase” simply read: “Provide onsite support in Chicago, IL in preparation

for Rowley trial per the request of T. Ismail.” Solely considering these ten entries, AbbVie seeks

to recover a staggering $31,008.00 based on this insufficient description. AbbVie failed to explain

how such “onsite support” was necessary to creating a demonstrative exhibit, let alone a

demonstrative exhibit necessary for use in the case. See Trading Techs. Int’l Inc., 750 F. Supp. 2d

at 981. 8

        At bottom, AbbVie’s claim that it was necessary to explain Plaintiff’s complicated medical

history to a lay-jury over the course of a fast-paced trial does not alleviate AbbVie’s need to meet

its burden to show the costs incurred were reasonable and necessary. Here, other than through



7
  See, e.g., Exhibit D to AbbVie’s Bill of Costs, Case No. 1:15-cv-2760, Doc. No. 93-5 at 3
(“Edit opening slide deck and Bierer expert deck per the direction provided by T. Ismail and S.
Cook.”).
8
  Plaintiff highlights that the recovery for exemplification costs AbbVie has requested far exceed
those of past VTE trials. Myers Bill of Costs, Case No. 1:15-cv-1085, Doc. Nos. 72 and 72-2
(requesting $5,620.60 for making copies and $132.00 for the creation of a demonstrative exhibit
used at trial for a total of $5,752.60); Nolte Bill of Costs, Case No. 1:14-cv-08135, Doc. Nos. 126
and 126-1 (requesting $16,975.14 for taxable costs for making copies for trial and $973.51 in costs
incurred for the creation of demonstrative exhibits for a total of $17,948.65).
                                                  6
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conclusory statements, AbbVie has made no effort to show why $48,522 was a reasonable amount

to spend on exemplification for a seven-day trial, especially as this was the third VTE trial to date.

See Springer v. Ethicon, Case No. 17 C 3930, 2018 U.S. Dist. LEXIS 48870, at *58-59 (N.D. Ill.

March 23, 2018) (Kennelly, J.). Plaintiff respectfully requests that this Court deny any award to

AbbVie for its exemplification costs.

     b. AbbVie should not recover its photocopying costs because it has not shown the costs
        are authorized by 28 USC § 1920(4).

     AbbVie has requested $3,643.32 in copying costs without documentation as to whether these

costs were necessary. To recover copying costs, the prevailing party must submit “the best

breakdown obtainable from retained records, and certainly enough information to allow the court

to make a determination that the costs sought are, in fact, authorized by §1920.” Telular Corp. v.

Mentor Graphics Corp., Case No. 01 C 431, 2006 U.S. Dist. LEXIS 44848, at *15 (N.D. Ill. June

16, 2006). The prevailing party must provide evidence to allow the court to determine whether the

copies were for the court and opposing counsel and not just for the prevailing party’s convenience.

Chi. Bd. Options Exch., Inc., 2014 U.S. Dist. LEXIS 4701, at *28-29. On page two of Exhibit D

to AbbVie’s Bill of Costs, AbbVie submitted an invoice for copying dated June 26, 2018, entitled

“Invoice for copying – Goldman Ismail Tomaselli Brennan & Baum.” Exhibit D to AbbVie’s Bill

of Costs, Case No. 1:15-cv-2760, Doc. No. 93-5 at 2. The invoice states the number of pages

copied and the cost per page, but is devoid of information about what was copied, meaning this

Court cannot determine whether these were necessary copies or whether they were made for the

mere convenience of counsel. As AbbVie failed to provide any means to assess the reasonableness

of its copying costs, Plaintiff requests that the Court deny any award to AbbVie for copying costs.




                                                  7
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   3. Fees for printed or electronically recorded transcripts necessarily obtained for use in
      the case – 28 USC § 1920(2).

           a. AbbVie should not recover the costs for Realtime trial transcripts obtained in
              the trial because AbbVie has failed to show why Realtime was necessary for
              the entire trial.

       AbbVie has requested $8,009.40 for Realtime trial transcripts without adequate support

that Realtime was necessary for the entire trial as opposed to merely a convenience. Although

Realtime transcripts are appropriate where testimony implicates complex expert testimony, the

prevailing party cannot recovery Realtime costs if those circumstances “were not present at every

moment of this litigation” and Realtime was merely an “untaxable convenience to the prevailing

party.” See Chamberlain Grp., Inc., v. Techtronic Indus. Co., Case No. 16 C 8097, 2018 U.S. Dist.

LEXIS 86386, at *96-98 (N.D. Ill. May 23, 2018) (reducing costs for expedited transcripts,

Realtime services, and laptop rentals related to hearings and trial by 15%). Plaintiff requests that

this Court deny AbbVie’s transcript costs with regard to Plaintiff’s examination (48 pages at $4.20

per page for a total of $201.60), as his testimony did not constitute complex expert testimony.

Further, the testimony of AbbVie’s corporate witnesses Steven Wojtanowski (183 pages at $4.20

per page for a total of $768.60), Michael Miller (141 pages at $4.20 per page for a total of $592.20),

and Mayra Ballina (239 pages at $4.20 per page for a total of $1003.80) similarly did not constitute

complex expert testimony warranting Realtime trial services. Moreover, both Mr. Miller and Mr.

Wojtanowski had testified in multiple prior trials such that nothing in their testimony required a

Real-time transcription of their testimony. In sum, Plaintiff requests that the Court reduce

AbbVie’s compensation for Realtime trial transcripts by $2,566.20.




                                                  8
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           b. AbbVie should not recover costs for unnecessarily expedited deposition
              transcripts.

       AbbVie has requested the costs for expedited deposition transcripts without showing any

need to expedite the transcripts. The prevailing party is authorized to recover the costs of

deposition transcripts if the depositions were “reasonably necessary.” Jack-Goods v. State Farm

Mut. Auto. Ins. Co., Case No. 01 C 6536, 2004 U.S. Dist. LEXIS 14228, at *6 (N.D. Ill. July 23,

2004). However, “the additional cost of expedited transcripts are not recoverable unless [the

prevailing party] can show that the expedited transcripts were reasonable and necessary.” Oleksy

v. GE, Case No. 06-cv-1245, 2016 U.S. Dist. LEXIS 171505, at *23 (N.D. Ill. Dec. 12, 2016)

(emphasis added) (citation omitted). Without justifying its need for expedited deposition

transcripts, AbbVie has requested $247.20 for Dr. Mohit Khera’s deposition taken January 10,

2017, 9 $159.20 for Dr. Barbara Bierer’s deposition taken January 5, 2017, 10 $386.40 for Dr. Peggy

Pence’s deposition taken January 13, 2017, 11 and $435.69 for Dr. Henry Rinder’s deposition taken

January 23, 2017, 12 for a total of $1,228.49. For Dr. Sucha Nand’s deposition taken January 24,

2017, AbbVie seeks the entire expedited deposition cost, totaling $1,322.75. Finally, AbbVie also

seeks to recover the $876.30 expedited cost related to Plaintiff’s second deposition taken January

27, 2017. See Exhibit C to AbbVie’s Bill of Costs, Case No. 1:15-cv-2760, Doc. No. 93-4. Plaintiff

highlights that these depositions were taken sixteen months before the Rowley trial and sufficiently

before Daubert and summary judgment motions were due in the bellwether cases on February 17,



9
  Because AbbVie is seeking only one seventh of the deposition costs for this deposition, Plaintiff
accordingly asks that the Court reduce recovery of the expedited transcript costs by one seventh
of the costs to expedite the transcript. However, as AbbVie reserves its right to seek recovery for
some or all of the costs in the future, Plaintiff reserves his right to oppose the same. See AbbVie’s
Memorandum in Support of Bill of Costs, Case No. 1:15-cv-2760, Doc. No. 94 at 5.
10
   Id.
11
   Id.
12
   Id.
                                                 9
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2017. Case Management Order No. 14 – Part 2 (Fourth Amended), Case No. 1:14-cv-1748, Doc.

No. 1588 at 5. Therefore, based on the schedule in the bellwether cases, AbbVie had no need to

expedite the transcripts for which it seeks these costs. 13 See Hillmann v. City of Chi., Case No. 04-

cv-6671, 2017 U.S. Dist. LEXIS 130376, at *18-19 (N.D. Ill. August 16, 2017) (denying costs for

expedited pretrial hearing transcript where trial occurred three weeks after the hearing). As AbbVie

has provided no explanation of why it should recover the costs for expedited transcripts, Plaintiff

respectfully requests the Court to reduce AbbVie’s compensation for these expedited transcripts

by $3,427.54.

            c. AbbVie should not recover rough draft costs for deposition transcripts.

         AbbVie has requested compensation for the cost of rough drafts for nine depositions for

which it also ordered final transcripts. Generally, rough drafts of transcripts “are considered to be

obtained for the convenience of counsel” and the prevailing party cannot recover for these costs

unless it provides an “adequate explanation of its need for draft transcripts.” Oleksy, 2016 U.S.

Dist. LEXIS 171505, at *19-20. Without justifying its need for rough drafts, AbbVie has requested

$295.35 for the rough draft of Dr. Verle Duane Bohman’s deposition taken on August 18, 2016,

$239.25 for the rough draft of Teryl Hunsaker, P.A.’s deposition taken on July 8, 2016, $295.35

for the rough draft of Dr. Douglas Hyldahl’s deposition taken on October 13, 2016, $367.00 for

the rough draft of Dr. Sucha Nand’s deposition taken on January 24, 2017, $80.71 for the rough




13
   In the alternative, should the Court find that the expedited transcripts were “reasonably
necessary,” Plaintiff respectfully requests that the Court reduce AbbVie’s per page recovery for
any expedited deposition to the “Expedited Transcript (7 Day)” rate of $4.85 per page pursuant to
the maximum per page transcript rates allowable in the Northern District of Illinois. See Maximum
Transcript Rates – All Parties (Per Page), N.D. Ill. Transcript Rates,
http://www.ilnd.uscourts.gov/Pages.aspx?rsp2kxYIAI6Z3skP0PESA+q3bXKkfRyo.
                                                 10
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draft of Dr, Mohit Khera’s deposition taken on January 10, 2017, 14 $51.71 for the rough draft of

Dr. Barbara Bierer’s deposition taken on January 5, 2017, 15 $92.40 for the rough draft of Dr. Peggy

Pence’s deposition taken on January 13, 2017, 16 $104.19 for the rough draft of Dr. Henry Rinder’s

deposition taken on January 23, 2017, 17 and $369.60 and $209.55 for the rough draft costs of

Plaintiff’s two depositions, taken on March 9, 2016, and January 27, 2017, respectively. See

Exhibit C to AbbVie’s Bill of Costs, Case No. 1:15-cv-2760, Doc. No. 93-4.

         As discussed above, given the briefing schedule, AbbVie had adequate time to receive the

final transcripts for the depositions of Drs. Khera, Bierer, Rinder, Pence, and Nand. 18 Likewise,

AbbVie had more than adequate time to receive the final deposition transcripts of Plaintiff, PA

Hunsaker, and Drs. Bohman and Hyldahl, depositions taken months earlier. Case Management

Order No. 14 – Part 2 (Fourth Amended), Doc. No. 1588 at 5; see Hillmann, 2017 U.S. Dist.

LEXIS 130376, at *18-19. Given the timing, AbbVie obtained the rough drafts for these transcripts

simply for “the convenience of counsel.” Oleksy, 2016 U.S. Dist. LEXIS 171505, at *19-20. As

AbbVie has provided no explanation of the need for these rough drafts, Plaintiff requests that this

Court reduce AbbVie’s recovery by the entirety of the costs of the rough drafts, or $2,105.11.




14
   Because AbbVie is seeking one seventh of the deposition costs for this deposition, Plaintiff
accordingly asks that the Court reduce recovery of the rough draft costs by one seventh. However,
as AbbVie reserves its right to seek recovery for some or all of the costs in future, Plaintiff reserves
his right to amend his opposition accordingly. See AbbVie’s Memorandum in Support of Bill of
Costs, Case No. 1:15-cv-2760, Doc. No. 94 at 5.
15
   Id.
16
   Id.
17
   Id.
18
    Moreover, by seeking both rough transcripts and expedited final transcripts for these five
experts, AbbVie seeks duplicative recovery for these costs.
                                                  11
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            d. AbbVie should not recover for case specific depositions where the appearance
               fee exceeds the total per page rate established by the Judicial Conference.

         AbbVie’s request for court reporter appearance fees as part of the deposition costs has

increased the total per page cost beyond the rate established by the Judicial Conference. Local

Rule 54.1(b) allows recovery of appearance fees unless the fees exceed the regular copy rate as

established by the Judicial Conference of the United States and in effect at the time the transcript

or deposition was filed. N.D. Ill. L.R. 54.1(b). Although the appearance fees charged by private

court reporters are reimbursable, those fees “are not recoverable to the extent that they make the

overall cost of the deposition transcript exceed the regular copy rates approved by the Judicial

Conference.” Higbee v. Sentry Ins. Co., Case No. 97 C 1349, 2004 U.S. Dist. LEXIS 10772, at *4-

5 (N.D. Ill. June 11, 2004); Baltimore v. Quinn-Mims, Case No. 10 C 1031, 2012 U.S. Dist. LEXIS

149866, at *4-5 (N.D. Ill. Oct. 18, 2012) (citing Higbee, 2012 U.S. Dist. LEXIS 149866, at *6)

(reducing prevailing party’s recovery where the total per page rate inclusive of appearance fees

exceeded the rate established by Judicial Conference). As outlined below, the appearance fees

AbbVie has requested increase these depositions’ total per page cost above the rate established by

the Judicial Conference of the United States at the time the deposition was taken: 19




19
  Plaintiff does not dispute that at the time discovery was taken in this case, the amount set by
the Judicial Conference was $3.65 per page. See N.D. Ill. General Order 12-0003 (Jan. 26, 2012).
                                                12
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  CHART 2 - DEPOSITION COSTS OF PLAINTIFF’S CASE SPECIFIC WITNESSES

   Deposition       Pages   AbbVie’s    Total Cost (not         Total Cost at Judicial    AbbVie’s    (Total Cost Judicial
                            Per-Page       including              Conference Rate        Requested    Conference Rate) –
                              Cost     Appearance Fee             ($3.65 per page)       Appearance     (AbbVie’s Total
                                       or Exhibit Costs)                                    Fee             Cost) =
                                                                                                          Permissible
                                                                                                       Appearance Fee
                                                                                                            Award
Dr. Verle Duane      179      $3.10        $554.90                    $653.35             $245.00           $98.45
Bohman
Teryl Hunsaker,      145      $3.10        $449.50                    $529.25             $245.00           $79.75
PA
Dr. Douglas          179      $3.10        $554.90                    $653.35             $245.00           $98.45
Hyldahl
Robert Rowley –      224      $3.10        $694.40                    $817.60             $245.00          $123.20
03/09/2016
Robert Rowley –      127      $3.65        $463.55                    $463.55             $245.00            $0.00
01/27/2017

                Plaintiff respectfully requests that this Court reduce the recovery of appearance fees by

       $825.15 to reflect the rates established by the Judicial Conference at the time the deposition was

       taken.

          4. Costs for Witnesses – 28 U.S.C. § 1920(3)

                   a. AbbVie should not recover for the lodging and transportation costs for
                      witnesses living in the Chicago-area or surrounding suburbs.

                AbbVie is requesting compensation for travel and overnight lodging expenses for witnesses

       who live in the Chicago-area or surrounding suburbs. Recovery is permitted for “subsistence paid

       to a witness when an overnight stay is required at the place of attendance because such place is so

       far removed from the residence of such witness as to prohibit return thereto from day to day.” 28

       U.S.C. § 1821(d)(1) (emphasis added). However, a court can deny recovery for transportation and

       lodging costs expended for witnesses who live close to the place of attendance. Trading Techs.

       Int’l, 750 F.Supp. 2d at 973-74 (denying recovery of lodging costs for primary expert witness who

       lived within six miles of courthouse). AbbVie has requested $430.00 for lodging and $138.00 for



                                                           13
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transportation costs 20 for AbbVie employee Steven Wojtanowski. However, according to witness

lists from earlier bellwether trials, Mr. Wojtanowski lives in Evanston, Illinois and resides

approximately thirteen miles from the Everett M. Dirksen U.S. Courthouse, a distance such that

Mr. Wojtanowski can return to his residence from “day to day.” See, e.g., Schedule A to Pretrial

Order, Plaintiffs’ Witness List in Mitchell, Case No. 1:14-cv-9178, Doc. No. 9-1 at 10. AbbVie

has also requested $215.00 for lodging and $115.38 for transportation costs for AbbVie employee

Michael Miller. Per his own testimony in Rowley, Mr. Miller resides in Libertyville, Illinois, which

a cursory search reveals to be approximately forty miles from the courthouse. Rowley Trial Tr. at

1335:5-7, Case No. 1:15-cv-2760. Although Mr. Miller’s commute would have taken longer than

Mr. Wojtanowski’s commute, it is not so far as to prohibit return to his residence each day. In fact,

per Exhibit G, AbbVie submitted an invoice $46.88 charges for personal car mileage, suggesting

Mr. Miller drove his personal car to Chicago for use during the trial. Exhibit G to AbbVie’s Bill

of Costs, Case No. 1:15-cv-2760, Doc. No. 93-8 at 2. Given these witnesses’ proximity to the place

of attendance and their ability to return home, Plaintiff requests that the Court deny recovery of

these costs for both witnesses and reduce AbbVie’s recovery by $898.88.

                                          CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Court (a) deny AbbVie’s

requested costs in their entirety, or (b) in the alternative, reduce the costs sought in AbbVie’s Bill

of Costs as outlined in this memorandum or as the Court deems reasonable.




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  From two $69.00 charges for “valet services.” Exhibit H, Case No. 1:15-cv-2760, Doc No. 93-
9 at 3.
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Dated: August 6, 2018                          Respectfully submitted,

                                               /s/ Seth A. Katz________________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 6, 2018, I electronically filed the foregoing document to the

Clerk of the United States District Court using the CM/ECF system for filing and service to all

parties/counsel registered to receive copies in this case.



                                               /s/ Seth A. Katz________




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